

People v Deas (2017 NY Slip Op 03768)





People v Deas


2017 NY Slip Op 03768


Decided on May 10, 2017


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 10, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
JOHN M. LEVENTHAL
L. PRISCILLA HALL
SANDRA L. SGROI, JJ.


2014-06306
 (Ind. No. 4576/13)

[*1]The People of the State of New York, respondent,
v Chrystal Deas, appellant.


Lynn W. L. Fahey, New York, NY (Matthew Nicholson, Emily Donohoe, Ashley Chase, and Louis O'Neill of counsel), for appellant.
Eric Gonzalez, Acting District Attorney, Brooklyn, NY (Leonard Joblove, Ann Bordley, Anthony W. Mariano, and Samantha Schnier of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Kings County (Dowling, J.), rendered June 2, 2014, convicting her of robbery in the first degree, upon a jury verdict, and imposing sentence.
ORDERED that the judgment is affirmed.
The defendant's contention that the Supreme Court improperly allowed the People to present a courtroom demonstration, during which one of the prosecutors and the complainant demonstrated for the jury the interaction between the defendant and the complainant, is unpreserved for appellate review, since the defendant's objections at trial were based upon grounds different than those raised on appeal (see CPL 470.05[2]; People v Rodriguez, 73 AD3d 815, 815; People v Clas, 54 AD3d 770, 771; People v Saladana, 208 AD2d 872, 872-873). In any event, the court providently exercised its discretion in permitting the in-court demonstration (see People v Barnes, 80 NY2d 867, 868; People v McDaniel, 84 AD3d 1410, 1411; People v Jones, 70 AD3d 1253, 1255).
MASTRO, J.P., LEVENTHAL, HALL and SGROI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








